Case 2:07-cr-00549-WHW     Document 108    Filed 03/11/10   Page 1 of 2 PageID: 391




                                          UNITED STATES DISTRICT COURT
                                             DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA
                                           Crim.   No.   07-549   (WHW)
             V.


STANLEY FOOTE,
     a/k/a “Murder,”


             This matter having come before the Court on the joint

application of Paul J.      Fishman,     United States Attorney for the

District of New Jersey       (by R.   Joseph Gribko,     Assistant U.S.

Attorney),    and Michael Pedicini Esq.,       appearing for defendant

STANLEY FOOTE,      for an order granting a continuance of the

proceedings against him in the above-captioned matter,               and

defendant being aware he has the right to have the matter brought

to trial within 70 days of the date of their appearance before a

judicial officer of this court pursuant to Title 18 of the United

States Code,      Section 3161(c) (1),    and as defendant has consented

to such a continuance,      and for good and sufficient cause shown,

             IT IS THE FINDING OF THIS COURT that this action should

be continued for the following reasons:

             1.    Plea negotiations are currently in progress,            and

both the United States and defendant desire additional time to

finalize plea agreements,      which would render trial of this matter

unnecessary;

             2.   Defendant has consented to the aforementioned

continuance;
Case 2:07-cr-00549-WHW    Document 108      Filed 03/11/10   Page 2 of 2 PageID: 392



            3.    Pursuant to Title 18 of the United States Code,

Section 3161(h) (8) ,    the ends of justice served by granting the

continuance outweigh the best interests of the public and

defendant in a speedy trial.

            WHEREFORE,    on this      /1       day of March,     2010,

            IT IS ORDERED the trial is scheduled for May 25,               2010;

and

            IT IS FURTHER ORDERED that the period from March 9,

2010,   through May 25,    2010,    shall be excludable in computing time

under the Speedy Trial Act of 1974,          pursuant to Title 18,        United

States Code,     Section 3161(h) (8)




                                            HONi
                                            United States District Judge
